          Case 1:18-cv-11895-DJC Document 46 Filed 08/28/19 Page 1 of 5




                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS




DANIKA HARTWELL. individually and on
                                                      NO. I:I8.CV-1I895-DJC
behalf of all others similarly situated,

                           Plaintiff,
                                                         (PUOPOSEU] FINAL ORDER
                                                                   APPROVING
                                                      CLASS ACTION SETTLEMENT AND
AMERICREDIT FINANCIAL SERVICES,                                    JUDGMENT
INC. d/b/a GM FINANCIAL.


                           Defendant.




        Plaintiff Danika Hartwell ("Plaintiff or "Class Representative"), through her counsel,

has submitted to the Court an Unopposed Motion for Approval of Class Action Settlement and

Application for Attorneys' Fees and Costs, which seeks final approval of the parties' Settlement

Agreement (the "Final Approval Motion").

       This Court preliminarily approved the Settlement Agreement by a Preliminary Approval

Orderdated May 13, 2019. Notice was sent to all members of the Settlement Class pursuant to

the terms of the Preliminary Approval Order and Settlement Agreement.

       This Court has reviewed the papers filed in support of the Final Approval Motion,

including the Settlement Agreement and the exhibits thereto, memoranda and arguments

submitted on behalf of the Settlement Class, and supporting affidavits. The Court held a hearing

on August 28, 2019.at which time the parties and all other interested persons were heard in

support of the proposed Settlement.

       Based on the papers filed with the Court and the presentations made to the Court by the

parties and by other interested persons at the hearing, it appears to the Court that the Settlement

                                                  I
             Case 1:18-cv-11895-DJC Document 46 Filed 08/28/19 Page 2 of 5




Agreement is fair, adequate, and reasonable, and in the best interests of the Settlement Class.

Accordingly,

        IT IS HEREBY ORDERED, ADJUDGED, AND DECREED:

        1.       This Final Order Approving Class Action Settlement and Judgment of Dismissal

('"Final Approval Order") incorporates by reference all definitions contained in the Settlement

Agreement, and all terms used herein shall have the same meaning as set forth in the Settlement

Agreement. The Settlement Agreement shall be deemed incorporated herein by this reference.

       2.       The Court has jurisdiction over the subject matter of this Lawsuit and over the

parties to this Lawsuit, including all Settlement Class Members for purposes of this Lawsuit.

       3.        Pursuant to Rule 23(b)(3) of the Federal Rules of Civil Procedure, the Court

certifies the following Settlement Class and Subclass:

                a. Settlement Class: All accounts subject to a RISC with respect to which GMF
                   sent a notice identical and/or substantially similar to the Representative's
                   Statutory Notice attached as Exhibit A to the Amended Complaint [Dkt. 16],
                   at any time during the Class Period, as that term is defined in the Settlement
                   Agreement excluding: (i) any account that includes within the applicable
                   RISC, a provision requiring either party to submit to binding non-class
                   arbitration, (ii) any account an obligor of which received a discharge in
                   Bankruptcy after the date he or she received such a notice, and (iii) any
                   account where GMF has previously obtained a binding release from all
                   obligors or obtained a judgment against all obligors.
                b. Sale Subclass: All accounts within the Settlement Class where the subject
                   vehicle was sold, leased, licensed or otherwise disposed of by GMF (the "Sale
                    Subclass").

       4.       For settlement purposes only, this Court finds that the Settlement Class (which

term includes the Sale Subclass) satisfies the applicable prerequisites for class action treatment

under Fed. R. Civ. P. 23, and more specifically that: (a) the Settlement Class as defined above is

so numerous thatjoinder of all members is impracticable: (b) there are questions of lawor fact

common to the Settlement Class; (c) the claims of the Class Representative are typical of the
             Case 1:18-cv-11895-DJC Document 46 Filed 08/28/19 Page 3 of 5




claims of the Settlement Class; (d) the Class Representative will fairly and adequately protect the

interests of the Settlement Class; (e) the questions of law or fact common to the members of the

Settlement Class predominate over the questions affecting only individual members, and (f)

certification of the Settlement Class is superior to other available methods for the fair and

efficient adjudication of the controversy.

        5.       Pursuant to the Court's Preliminary Approval Order, the approved Class Notice

was mailed to the Settlement Class. The Court has determined that the Class Notice given to

members of the Settlement Class fully and accurately informed members of the Settlement Class

of all material elements of the proposed Settlement; constituted valid, due, and sufficient notice

to all members of the Settlement Class; and fully complied with Rule 23(c)(2)(B) of the Federal

Rules of Civil Procedure.


       6.        No objection was filed by any member of the Settlement Class. The Court,

having considered the relevant papers, including Plaintiffs Final Approval Motion, finds that

this Settlement, on the terms and conditions set forth in the Settlement Agreement, is in all

respects fair, reasonable, adequate, and in the best interests of the Settlement Class. The Court

therefore grants final approval to the Settlement in accordance with the terms of the Settlement

Agreement.

       7.        The Court orders the parlies to the Settlement Agreement to perform their

obligations thereunder pursuant to the terms of the Settlement Agreement.

       8.        The Court dismisses the Lawsuit, and all claims and causes of action asserted

therein, on the merits and with prejudice. This dismissal is without costs to any party, except as

specifically provided in the Settlement Agreement.
            Case 1:18-cv-11895-DJC Document 46 Filed 08/28/19 Page 4 of 5




       9.       This Final Approval Order and Final Judgment of dismissal with prejudice set

forth herein is binding on all Settlement Class Members.

       10.      Plaintiff and all Settlement Class Members are permanently barred and enjoined

from asserting, commencing, prosecuting or continuing any of the Released Claims against any

of the Released Parties, as those terms are defined in the Settlement Agreement.

       11.      The Court adjudges that the Class Representative and all Settlement Class

Members shall, to the extent provided in the Settlement Agreement, conclusively be deemed to

have released and discharged the Defendant AmeriCredit Financial Services, Inc. d/b/a GM

Financial and all other Released Persons from any and all of the Released Claims as provided in

the Settlement Agreement.

       12.      Without affecting the finality of this Final Approval Order in any way, the Court

retains Jurisdiction over: (a) implementation and enforcement of the Settlement Agreement

pursuant to further orders of the Court until the final Judgment contemplated hereby has become

effective and each and every act agreed to be performed by the parties hereto shall have been

performed pursuant to the Settlement Agreement; (b) any other action necessary to conclude this

settlement and to implement the Settlement Agreement; and (c) the enforcement, construction,

and interpretation of the Settlement Agreement.

       13.      The Plaintiff and Class Counsel have moved for an award of attorneys' fees and

costs of $736,350. The Court finds that Class Counsel's requested award of attorneys" fees, costs

and expenses is fair and reasonable, and the Court approves of Class Counsel attorneys' fees,

costs and expenses in this amount. The Court directs the Settlement Administrator to disburse

this amount to Class Counsel from the Settlement Fund as provided in the Settlement

Agreement.
          Case 1:18-cv-11895-DJC Document 46 Filed 08/28/19 Page 5 of 5




        14.    The PlainiilTlias moved foi' an Incemive Award of$5,000. The Coun finds thai

the requested Incentive Award is lair and reasonable, and the Court approves the Incentive

Award in this amount. The Court directs the Settlement Administrator to disburse this amount to


the Plaintiff from the Settlement l-Tind as provided in the Settlement Agreement.

        15.    Neither this Final .Approval Order nor the Settlement Agreement is an admission

or concession by Defendant of any fault, omission, liability, or wrongdoing. This Final Approval

Order is not a finding of the validity or invalidity of any claims in this action or a determination

of any wrongdoing by Defendant. The llnal approval of the Settlement Agreement does not

constitute any opinion, position, or determination of this Court, one way or the other, as to the

merits of the claims and defenses of the Settlement Class Members or Defendant.


        16.    Settlement Class Members were given an opportunity to object to the Settlement

and to the attorneys' fees petition. There being no objections to either, the Court finds that no

just reason exists for delay in entering this Final Approval Order. Accordingly, the Clerk is

hereby directed forthwith to enter this Final .Approval Order.

        17.    Should the Settlement not become effective and Hnal in accordance with its terms,

this Final Approval Order shall be rendered null and void to the extent provided by and in

accordance with the Settlement Agreement and shall be vacated and, in such event, all orders and

releases delivered in connection herewith shall be null and void to the extent provided by and in

accordance with the Settlement Agreement.

       SO ORDERED, on this, the _^fefduy of                               2019.


                                                   HONORABLE DENISE J. CASPER
                                                   UNITED STATES DISTRICT COURT JUDGE
